      CASE 0:23-cv-02200-JRT-ECW           Doc. 1-6    Filed 07/24/23     Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Roderick Williams,                                         Case No. ________________

                                   Plaintiff,

v.                                                     CERTIFICATE OF SERVICE
                                                       FOR U.S. MAIL
KIPP Minnesota,

                                   Defendant.


I hereby certify that, on July 24, 2023, I caused the (1) Notice of Removal Pursuant to 28
U.S.C. § 1446(a); (2) Exhibits A-C; (3) Civil Cover Sheet; and (4) EFS Notice of Filing
of Notice of Removal in the Minnesota District Court to be filed electronically with the
Clerk of Court through ECF and that I caused a copy of the foregoing documents and the
notice of electronic filing to be served by first class mail, postage paid, to the following
individuals:

Eric Satre
Satre Law Firm
International Plaza
7900 International Drive, Suite 300
Bloomington, MN 55425


                                                SQUIRES, WALDSPURGER &
                                                MACE, P.A.
Dated: July 24, 2023                            By: /s/ John P. Edison___________
                                                John P. Edison (#391118)
                                                Dalia N. Istephanous (#0403617)
                                                333 South Seventh Street, Suite 2800
                                                Minneapolis, MN 55402
                                                Phone: (612) 436-4300
                                                Fax: (612) 436-4340
                                                Email: john.edison@raswlaw.com
                                                        dalia.istephanous@raswlaw.com
